    Case 1:03-md-01570-GBD-SN Document 1956 Filed 03/07/07 Page 1 of 19




                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK



In re Terrorist Attacks on September 11, 2001      03 MDL 1570 (RCC)

                                                   ECF Case

This document relates to:

Federal Insurance Co., et al. v. Al Qaida, et al., No. 03-CV-6978


 THE FEDERAL INSURANCE PLAINTIFFS’ MORE DEFINITE STATEMENT AS TO
                      THE REPUBLIC OF IRAQ
       Pursuant to the November 27, 2006 Stipulation and Order, as amended, Plaintiffs in

Federal Insurance Co., et al. v. Al Qaida, et al., 03 CV 6978 (RCC) (“Plaintiffs”) submit this

More Definite Statement in response to the Republic of Iraq’s (“Iraq”) January 1, 2007

Identification of Areas for Which More Definite Statement is Sought. As to Iraq, the allegations

set forth herein supplement the allegations contained in Plaintiffs’ First Amended Complaint

with Incorporated More Definite Statements, RICO Statements, and Rule 15(d) Supplemental

pleadings (“FAC”), incorporated herein by reference.

                                   GENERAL OBJECTION
       Plaintiffs object to Iraq’s January 1, 2007 Identification of Areas for Which More

Definite Statement is Sought, on the grounds that the scope of pleading requested therein is

inconsistent with the provisions of Fed. R. Civ. P. 12(e), and beyond the requirements of Fed. R.

Civ. P. 8(a), (e) and (f). Plaintiffs maintain that the FAC contains a short and plain statement of

Plaintiffs’ claims, the grounds upon which jurisdiction depends, and the relief requested, and that

Iraq consequently is not entitled to supplemental pleading as to any issue. Plaintiffs further

object to Iraq’s January 1, 2007 Identification of Areas for Which More Definite Statement is

Sought, on the grounds that it seeks to compel Plaintiffs to disclose in the public record
      Case 1:03-md-01570-GBD-SN Document 1956 Filed 03/07/07 Page 2 of 19




information previously filed under seal pursuant to Court Orders. Subject to the foregoing

objections, Plaintiffs offer the following supplemental allegations:

                                   FACTUAL ALLEGATIONS

1.      From the early 1990’s through at least 2003, the Republic of Iraq (“Iraq”) knowingly
        conspired with and aided and abetted al Qaida, in relation to that terrorist organization’s
        campaign to attack America.

2.      As further detailed below, Iraq’s sponsorship of al Qaida took many forms, including
        training in military and intelligence tactics, instruction in the manufacture of explosive
        devices, technological assistance in the development of weapons of mass destruction,
        logistical support for terrorist attacks, financial assistance, and safehaven.

       THE FORMATION OF THE IRAQ-AL QAIDA RELATIONSHIP IN SUDAN

3.      According to intelligence reports, contacts between the Iraqi regime and al Qaida began
        in 1990 with the assistance of Hassan al Turabi (“Turabi”), the radical Islamist and de
        facto leader of Sudan’s National Islamic Front (“NIF”).

4.      Turabi felt strongly that Muslim and Arab factions should put aside their differences and
        cooperate against their common enemy, the democratic West.

5.      Consistent with that view, shortly after the NIF seized control of Sudan through a
        military coup, and on the eve of the first Gulf War, Turabi reached out to Saddam
        Hussein in a sign of solidarity.

6.      In the days after Iraq’s invasion of Kuwait, Turabi met with Saddam at least twice,
        according to his cousin Mudawi Turabi.

7.      In an effort to foster cooperation between Islamic radical groups and the Iraqi regime, on
        October 1, 1990, Turabi led a delegation of forty Islamic fundamentalist leaders to Jordan
        to meet with representatives of the Iraqi regime.

8.      Turabi served as the spokesman for the meeting and announced to the attendees that
        Saddam had agreed to release prominent clerics who had been imprisoned by his regime.

9.      Turabi further announced that Saddam, who at one time was a leading advocate of
        secularism, promised to incorporate elements of Islamic law into the Iraqi legal code.

10.     According to a June 21, 2002 CIA report, a bin Laden envoy attended the meeting in
        Jordan.

11.     Following the meeting, Turabi held a press conference to advise Muslims of the their
        duty to undertake “a struggle [jihad] to protect their territories and their holy land and
        their wealth.”



                                                  2
      Case 1:03-md-01570-GBD-SN Document 1956 Filed 03/07/07 Page 3 of 19




12.     He further warned “there is going to be all forms of jihad all over the world because it is
        an issue of foreign troops on sacred ground.”

13.     In the years following the meeting of Islamic fundamentalists and representatives of the
        Iraqi regime in Jordan, Turabi played an instrumental role in fostering a collaborative
        relationship between al Qaida and Iraq, on both ideological and operational fronts.

14.     According to U.S. intelligence, both the Iraqi regime and al Qaida were receptive to
        Turabi’s efforts, and interested in pursuing a collaborative relationship with one another.

15.     Among other prospective benefits of such a collaborative relationship, bin Laden
        believed that Iraq could help al Qaida expand its operational capabilities, while Saddam
        sought to use al Qaida’s influence with the Taliban in Afghanistan to facilitate the
        shipment of weapons and equipment banned under sanctions imposed by the United
        Nations.

16.     In an October 27, 2003 memorandum summarizing intelligence gathered by various U.S.
        intelligence agencies regarding the relationship between Iraq and al Qaida (the “Feith
        Memo”), Undersecretary of Defense for Policy Douglas J. Feith confirmed that Turabi
        succeeded in brokering a collaborative relationship between Iraq and al Qaida in the early
        1990s:

               According to CIA reporting in 1993, National Islamic Front (NIF)
               leader Hassan al-Turabi helped bin laden develop a relationship
               with Iraq. Bin Laden wanted to expand his organization’s
               capabilities through ties with Iraq. In a finished report (Al Qaeda
               in Sudan 1992-1996), CIA maintained that in 1991 Iraq sought
               Sudan’s assistance to establish links to al Qaeda. At al-Turabi’s
               urging, Bin Laden developed an “understanding” in 1994 with
               Saddam not to support any anti-Saddam activities. The same
               source reported that Iraq and Bin Laden agreed to cooperate on
               unspecified activities.

17.     During questioning at the Joint Interrogation Center System in Stuttgart, Germany, a
        senior Iraqi intelligence official similarly acknowledged that “Turabi was instrumental in
        arranging the Iraqi-al Qaeda relationship,” and that Iraq sought al Qaida’s assistance to
        facilitate the transshipment of proscribed weapons and equipment through Afghanistan to
        Iraq, in return for which Iraq provided al Qaeda with training and instructors.

18.     The first operational meeting between representatives of the Iraqi regime and al Qaida
        occurred in 1992.

19.     According to the Feith Memo, senior al Qaida leader Ayman al Zawahiri and Iraqi
        Intelligence Service Deputy Director Faruq Hijazi both participated in the meeting, the
        first of many held in Sudan between 1992 and 1995.




                                                 3
      Case 1:03-md-01570-GBD-SN Document 1956 Filed 03/07/07 Page 4 of 19




20.     With Turabi’s assistance, the early meetings between al Qaida and Iraqi officials led to an
        operational agreement in 1993, as confirmed by the Feith Memo and court filings in the
        African embassy bombings trial.

21.     Under that agreement, bin Laden forbade any al Qaida operations against Saddam and
        agreed to cooperate with the Iraqi regime on various issues, in exchange for which Iraq
        agreed to provide operational and logistical support to al Qaida.

22.     During the ensuing years, additional meetings between Iraqi intelligence and al Qaida
        were held in Sudan and Pakistan.

23.     In addition, members of al Qaida would sometimes visit Baghdad where they would meet
        the Iraqi intelligence chief in a safe house.

24.     Al Zawahiri himself traveled to Baghdad in 1998 to meet with Iraqi officials, to discuss
        the potential establishment of al Qaida training camps in Iraq.

25.     With respect to this operational meeting, the Feith Memo states as follows:

               According to a sensitive reporting [from] a “regular and reliable
               source,” [Ayman al] Zawahiri, a senior al Qaeda operative, visited
               Baghdad and met with the Iraqi Vice President on 3 February
               1998. The goal of the visit was to arrange for coordination
               between Iraq and bin Laden and establish camps in an-Nasiriyah
               and Iraqi Kurdistan under the leadership of Abdul Aziz.

                               IRAQI TRAINING OF AL QAIDA

26.     By the mid 1990’s, there was increasing cooperation between the Iraqi Intelligence
        Service (“IIS”) and al Qaida.

27.     During this period, Iraq invited al Qaida members and other foreign terrorist elements to
        training camps in Iraq, established and operated by the Fedayeen Saddam, including the
        training camps known as Salman Pak and Lake Tharthar.

28.     At these camps, al Qaida and other foreign fighters received paramilitary and terrorist
        training from Iraqi intelligence and security forces, including training in assassinations,
        kidnapping, the hijacking of planes, buses and trains, and other terrorist activities.

29.     Interviewed by Frontline and the New York Times on October 14, 2001, Sabah Khodada,
        a former Captain in the Iraqi Army who worked at the Salman Pak camp for six months
        in the mid 1990’s, provided the following description of the training provided to foreign
        terrorist elements at that facility:

               This whole camp where their training is run by the Iraqi [security
               service]... The government organization [that] basically possesses
               or have control of the camp is the Iraqi intelligence.



                                                  4
      Case 1:03-md-01570-GBD-SN Document 1956 Filed 03/07/07 Page 5 of 19




               But different training people who come, they are headed or sent by
               different people in the Iraqi government.

               Training is majorly on terrorism.

               They would be trained on assassinations, kidnapping, hijacking of
               airplanes, hijacking of buses, public buses, hijacking of trains and
               all other kinds of operations related to terrorism.

               Non-Iraqis were trained separately from us.

               There were strict orders not to meet with them and not to talk to
               them.

               And even when they conduct their training, their training has to
               occur at times different from the times when we conduct the Iraqis
               our own training.

               They were special trainers or teachers from the Iraqi intelligence
               and al-Mukhabarat.

30.     One of the foreign terrorists who received training from the IIS at a camp in Iraq was
        Imad Barakat Yarkas, a Syrian who served as the leader of the al Qaida operational cell
        in Spain that coordinated, planned and financed the September 11th Attack.

31.     According to U.S. intelligence, the IIS also provided bin Laden and al Qaida with expert
        training on sophisticated explosives, including letter and parcel bombs and bombs that
        could be placed on aircraft and detonated by changes in barometric pressure.

32.     Iraqi intelligence’s premier explosives expert, Brigadier Salim al Ahmed, was responsible
        for much of this training and had been personally requested by Bin Laden.

33.     According to the Feith Memo:

               Reporting from a well placed source disclosed that bin Laden was
               receiving training on bomb making from the IIS’s [Iraqi
               Intelligence Service] principal technical expert on making
               sophisticated explosives, Brigadier Salim al-Ahmed.

               Brigadier Salim was observed at bin Laden’s farm in Khartoum in
               Sept.-Oct. 1995 and again in July 1996, in the company of the
               Director of Iraqi Intelligence, Mani abd-al-Rashid al-Tikriti.

               Bin Laden visited Doha, Qatar (17-19 Jan. 1996), staying at the
               residence of a member of the Qatari ruling family. He discussed
               the successful movement of explosives into Saudi Arabia, and
               operations targeted against U.S. and U.K. interests in Dammam,
               Dharan, and Khobar, using clandestine al Qaeda cells in Saudi


                                                   5
      Case 1:03-md-01570-GBD-SN Document 1956 Filed 03/07/07 Page 6 of 19




               Arabia. Upon his return, bin Laden met with Hijazi and Turabi,
               among others.

               The Director of Iraqi Intelligence, Mani abd-al-Rashid al-Tikriti,
               met privately with bin Laden at his farm in Sudan in July 1996.
               Tikriti used an Iraqi delegation traveling to Khartoum to discuss
               bilateral cooperation as his “cover” for his own entry into Sudan to
               meet with bin Laden and Hassan al-Turabi. The Iraqi intelligence
               chief and two other IIS officers met at bin Laden’s farm and
               discussed bin Laden’s request for IIS technical assistance in: a)
               making letter and parcel bombs; b) making bombs which could be
               placed on aircraft and detonated by changes in barometric
               pressure; and c) making false passport [sic]. Bin Laden
               specifically requested that [Brigadier Salim al-Ahmed], Iraqi
               intelligence’s premier explosives maker--especially skilled in
               making car bombs--remain with him in Sudan. The Iraqi
               intelligence chief instructed Salim to remain in Sudan with bin
               Laden as long as required.

               The time of the visit from the IIS director was a few weeks after
               the Khobar Towers bombing. The bombing came on the third
               anniversary of a U.S. [Tomahawk missile] strike on IIS HQ
               (retaliation for the attempted assassination of former President
               Bush in Kuwait) for which Iraqi officials explicitly threatened
               retaliation.

            IRAQI COOPERATION WITH AL QAIDA IN THE DEVELOPMENT OF
                      WEAPONS OF MASS DESTRUCTION

34.     Iraq also assisted al Qaida in its efforts to develop and use weapons of mass destruction
        in furtherance of its terrorist ambitions.

35.     In the wake of the al Qaida bombings of the U.S. embassies in Kenya and Tanzania on
        August 7, 1998, the U.S. government conducted an air strike on the al Shifa
        pharmaceutical plant in Khartoum, Sudan, based on intelligence that al Qaida and the
        NIF were using the facility to develop and manufacture chemical weapons, with the
        technical assistance of Iraqi intelligence.

36.     Prior to the U.S. strike on the plant, the CIA had been monitoring the plant for nearly two
        years, beginning in 1996.

37.     The plant was known to have ties to Sudan’s Military Industrial Corporation, and the CIA
        had gathered intelligence on the budding relationship between Iraqi chemical weapons
        experts and the plant’s top officials.

38.     The intelligence included information that several top chemical weapons specialists from
        Iraq had attended ceremonies to celebrate the plant’s opening in 1996.



                                                 6
      Case 1:03-md-01570-GBD-SN Document 1956 Filed 03/07/07 Page 7 of 19




39.     Moreover, the National Security Agency had intercepted telephone calls between Iraqi
        scientists and the plant’s general manager.

40.     Iraq also admitted to having a $199,000 contract with al Shifa for goods under the oil-for-
        food program, although no goods were ever delivered.

41.     In the spring of 1998, the CIA secretly gathered a soil sample from 60 feet outside of the
        plant’s main gate.

42.     The sample showed high levels of O-ethylmethylphosphonothioic acid, known as
        EMPTA, which is a key ingredient for the deadly nerve agent VX.

43.     A senior intelligence official, when asked which countries make VX using EMPTA,
        responded: “Iraq is the only country we’re aware of. There are a variety of ways of
        making VX, a variety of recipes, and EMPTA is fairly unique.”

44.     On August 20, 1998, the al Shifa plant was destroyed by six Tomahawk missiles.

45.     John McWethy, national security correspondent for ABC News, reported the story on
        August 25, 1998, stating as follows:

               Before the pharmaceutical plant was reduced to rubble by
               American cruise missiles, the CIA was secretly gathering evidence
               that ended up putting the facility on America's target list.
               Intelligence sources say their agents clandestinely gathered soil
               samples outside the plant and found, quote, “strong evidence” of a
               chemical compound called EMPTA, a compound that has only one
               known purpose, to make VX nerve gas. The U.S. had been
               suspicious for months, partly because of Osama bin Laden’s
               financial ties, but also because of strong connections to Iraq.
               Sources say the U.S. had intercepted phone calls from the plant to
               a man in Iraq who runs that country’s chemical weapons program.

46.     Following the air strike, several top Clinton Administration officials cited an Iraq-al
        Qaida connection as the basis for the U.S. attack on the al Shifa pharmaceutical plant in
        Sudan.

47.     Undersecretary of State Thomas Pickering, one of several Clinton advisers involved in
        planning the strikes, briefed reporters on August 25, 1998.

               Q: Ambassador Pickering, do you know of any connection
               between the so-called pharmaceutical plant in Khartoum and the
               Iraqi government in regard to production of precursors of VX?

               PICKERING: Yeah, I would like to consult my notes just to be
               sure that what I have to say is stated clearly and correctly.




                                                 7
      Case 1:03-md-01570-GBD-SN Document 1956 Filed 03/07/07 Page 8 of 19




               We see evidence that we think is quite clear on contacts between
               Sudan and Iraq. In fact, al Shifa officials, early in the company’s
               history, we believe were in touch with Iraqi individuals associated
               with Iraq’s VX program.

48.     In an August 30, 1998 appearance on CNN’s “Late Edition with Wolf Blitzer,” Bill
        Richardson, at the time U.S. Ambassador to the United Nations, called the targeting:

               One of the finest hours for our intelligence people. We know for a
               fact, physical evidence, soil samples of VX precursor -- chemical
               precursor at the site…Secondly, Wolf, direct evidence of ties
               between Osama bin Laden and the Military Industrial Corporation
               -- the al Shifa factory was part of that. This is an operation -- a
               collection of buildings that does a lot of this dirty munitions stuff.
               And, thirdly, there is no evidence that this precursor has a
               commercial application. So, you combine that with Sudan support
               for terrorism, their connections with Iraq on VX, and you combine
               that, also, with the chemical precursor issue, and Sudan’s
               leadership support for Osama bin Laden, and you’ve got a pretty
               clear cut case.

49.     In a January 23, 1999 article in the Washington Post, Richard Clarke, former
        counterterrorism official under both Clinton and Bush, defended the Clinton
        Administration’s decision to attack the al Shifa plant and was “sure” that Iraq had
        provided a chemical weapons precursor to the al Qaida linked facility in Sudan.

               While U.S. intelligence officials disclosed shortly after the missile
               attack that they had obtained a soil sample from the El Shifa site
               that contained a precursor of VX nerve gas, Clarke said that the
               U.S. government is “sure” that Iraqi nerve gas experts actually
               produced a powdered VX-like substance at the plant that, when
               mixed with bleach and water, would have become fully active VX
               nerve gas.

50.     Clarke also affirmed that actionable intelligence linked bin Laden to Al Shifa’s current
        and past operators, the Iraqi nerve gas experts and the National Islamic Front in Sudan.

51.     On March 23, 2004, former Clinton Secretary of Defense William Cohen affirmed the
        Baghdad-Sudan connection in testimony before the 9-11 Commission:

               But to give you an example, this particular facility, according to
               the intelligence we had at that time, had been constructed under
               extraordinary security circumstances, even with some surface-to-
               air missile capability or defense capabilities; that the plant itself
               had been constructed under these security measures; that the -- that
               the plant had been funded, in part, by the so-called military
               industrial corporation; that Bin Ladin had been living there; that he



                                                 8
      Case 1:03-md-01570-GBD-SN Document 1956 Filed 03/07/07 Page 9 of 19




               had, in fact, money that he had put into this military industrial
               corporation; that the owner of the plant had traveled to Baghdad to
               meet with the father of the VX program; and that the CIA had
               found traces of EMPTA nearby the facility itself. According to all
               the intelligence, there was no other known use for EMPTA at that
               time other than as a precursor to VX.

52.     In 1998, the U.S. government indicted bin Laden and other al Qaida members for their
        roles in the African embassy bombings.

53.     The indictment, unsealed several months after its filing, similarly cited al Qaida’s
        agreement to collaborate with Iraq on weapons of mass destruction.

54.     Paragraph #4 of the Indictment asserted as follows:

               Al Qaeda also forged alliances with the National Islamic Front in
               the Sudan and with the government of Iran and its associated
               terrorist group Hezballah for the purpose of working together
               against their perceived common enemies in the West, particularly
               the United States. In addition, al Qaeda reached an understanding
               with the government of Iraq that al Qaeda would not work against
               the government and that on particular projects, specifically
               including weapons development, al Qaeda would work
               cooperatively with the Government of Iraq. (emphasis added)

55.     In testimony before the 9-11 Commission, U.S. Attorney Patrick Fitzgerald said that the
        intelligence behind that assertion in the indictment came from Jamal al Fadl, a former
        high-ranking al Qaida terrorist.

56.     According to the 9-11 Commission’s Final Report, the above passage in the bin Laden
        indictment led Richard Clarke, who for years had read intelligence reports on Iraqi-
        Sudanese cooperation on chemical weapons, to speculate to [National Security Adviser
        Sandy] Berger that a large Iraqi presence at chemical facilities in Khartoum was
        “probably a direct result of the Iraq-al Qaeda agreement.”

57.     Clarke added that VX precursor traces found near al Shifa were the “exact formula used
        by Iraq.”

58.     During interrogation following his capture after the September 11th Attack, senior al
        Qaida official Ibn Sheikh al Libi confirmed the extensive cooperation between al Qaida
        and Iraq in the development of weapons of mass destruction, and that he and Mohammed
        Atef personally met with Iraqi intelligence officials on several occasions at bin Laden’s
        request regarding those efforts.




                                                 9
      Case 1:03-md-01570-GBD-SN Document 1956 Filed 03/07/07 Page 10 of 19




IRAQ’S CONTINUING SUPPORT OF AL QAIDA AFTER THE RELOCATION FROM
                      SUDAN TO AFGHANISTAN

59.     In the immediate wake of the embassy bombings and U.S. retaliation against the al Shifa
        facility in Sudan, Iraqi officials, including Iraqi Vice President Taha Yasin Ramadan,
        traveled to Sudan to meet with al Qaida and Sudanese officials and confirm Iraq’s
        continuing support for al Qaida and the NIF.

60.     In an August 31, 1998 statement to the Iraqi News Agency, Ramadan said that “his visit
        to Sudan comes within the framework of consultation and dialogue over the development
        of cooperation and coordination between the two fraternal countries in order to face up to
        the U.S. and Zionist schemes and acts of aggression against the Arab nation.”

61.     U.S. intelligence believes that Sudanese leaders, acting on behalf of bin Laden, asked
        Ramadan if Iraq would give him asylum.

62.     Iraqi officials met frequently with bin Laden and other senior al Qaida officials
        immediately after bin Laden relocated from Sudan to Afghanistan, in furtherance of
        efforts to expand Iraq’s cooperation with al Qaida and recruit radical Islamic elements to
        attack U.S. and U.K. interests on Iraq’s behalf, as well as to explore possible safe haven
        for bin Laden in Iraq.

63.     The Feith Memo summarizes the intelligence from six separate U.S. intelligence agencies
        regarding the numerous meetings between Iraqi and al Qaida officials during this period
        as follows:

               According to sensitive reporting, Saddam personally sent Faruq
               Hijazi, IIS deputy director and later Iraqi ambassador to Turkey, to
               meet with bin Laden at least twice, first in Sudan and later in
               Afghanistan in 1999. . .

               A foreign government service reported that an Iraqi delegation,
               including at least two Iraqi intelligence officers formerly assigned
               to the Iraqi Embassy in Pakistan, met in late 1998 with bin Laden
               in Afghanistan.

               According to CIA reporting, bin Laden and Zawahiri met with two
               Iraqi intelligence officers in Afghanistan in Dec. 1998.

               Iraq sent an intelligence officer to Afghanistan to seek closer ties
               to bin Laden and the Taliban in late 1998.

               The source reported that the Iraqi regime was trying to broaden its
               cooperation with al Qaeda.

               Iraq was looking to recruit Muslim “elements” to sabotage U.S.
               and U.K. interests.


                                                 10
      Case 1:03-md-01570-GBD-SN Document 1956 Filed 03/07/07 Page 11 of 19




               After a senior Iraqi intelligence officer met with Taliban leader
               [Mullah] Omar, arrangements were made for a series of meetings
               between the Iraqi intelligence officer and bin Laden in Pakistan.

               The source noted Faruq Hijazi was in Afghanistan in late 1998.

               Faruq Hijazi went to Afghanistan in 1999 along with several other
               Iraqi officials to meet with bin Laden.

               The source claimed that Hijazi would have met bin Laden only at
               Saddam's explicit direction.

64.     Vincent Cannistraro, the chief of counter-terrorism operations for the CIA, also
        confirmed the meetings between bin Laden and Hijazi during a February 18, 1999
        interview on National Public Radio:

               Farouk Hijazi, who was the Iraqi ambassador in Turkey, went to
               Afghanistan in December with the knowledge of the Taliban and
               met with Osama bin Laden.

               It’s known through a variety of intelligence reports that the U.S.
               has, but it’s also known through sources in Afghanistan, members
               of Osama’s entourage let it be known that the meeting had taken
               place.

65.     According to U.S. intelligence agencies, the extensive meetings between Iraqi and al
        Qaida officials during 1998 and 1999 resulted in offers of safe haven and asylum for bin
        Laden in Iraq.

66.     The Feith Memo indicates that the proposal to offer safe haven to bin Laden in Iraq was
        initially put forward by Kahlid Janaby, the head of Iraqi intelligence in Islamabad,
        Pakistan, who was in frequent contact and had a strong personal relationship with bin
        Laden.

               IRAQI LOGISTICAL SUPPORT FOR AL QAIDA ATTACKS

67.     In addition to the various forms of material support described above, Iraqi intelligence
        also provided operational and logistical support for al Qaida attacks and plots, including
        the U.S.S. Cole and September 11th Attack.

68.     According to a CIA report, in August 1999, Ahmad Hikmat Shakir, an Iraqi national with
        close ties to several high ranking al Qaida members, obtained a job as a “greeter” at the
        Kuala Lumpur International Airport in Kuala Lumpur, Malaysia.

69.     In much of Southeast Asia and the Middle East, a “greeter” is employed at airports to
        escort VIPs through customs and immigration control checkpoints.




                                                 11
      Case 1:03-md-01570-GBD-SN Document 1956 Filed 03/07/07 Page 12 of 19




70.     An official of the Iraqi Embassy in Kuala Lumpur was responsible for getting Shakir his
        job as a greeter at the airport.

71.     For instructions on when to report to work and when to take a day off, Shakir looked to
        the Iraqi Embassy, rather than his ostensible employer.

72.     His contact at the Iraqi Embassy instructed Shakir to report to work on January 5, 2000.

73.     On that day, Shakir greeted Khalid al Midhar and Nawaz al Hamzi, two of the September
        11th hijackers, and facilitated their passage through customs and immigration
        checkpoints.

74.     After helping the men through the airport, Shakir got into a waiting car with them and
        traveled to a condominium owned by Yazid Sufaat, an American-educated al Qaida
        associate.

75.     Over the next several days, key al Qaida figures, including Tawfiz al Atash and Ramzi
        bin al Shibh, met at the Kuala Lumpur condo to plan the U.S.S. Cole bombing and the
        September 11th Attack.

76.     The meetings ended on January 8, 2000.

77.     Shakir reported to work at the airport on January 9 and January 10, but never showed up
        again.

78.     Al Midhar and Al Hamzi flew from Bangkok, Thailand, to Los Angeles on January 15,
        2000.

79.     On September 11, 2001, the two men were at the controls of American Airlines Flight 77
        when it plunged into the Pentagon.

80.     Six days following the September 11th Attack, Shakir was detained in Doha, Qatar.

81.     Authorities searched Shakir and his apartment and discovered that Shakir had numerous
        ties to al Qaida and links to the Iraqi regime.

82.     Indeed, Shakir possessed contact information for al Qaida members involved in many of
        the most devastating terrorist attacks and plots of the past decade, including: 1993 World
        Trade Center Bombing collaborators Musab Yasin and Ibrahim Suleiman; Zahid Sheikh
        Mohammed, co-planner of “Operation Bojinka” and the brother of Khalid Sheikh
        Mohammed; Ammar al Baluchi, a participant in the U.S.S. Cole and September 11th
        attacks and the nephew of Khalid Sheikh Mohammed; and Abu Hajer al Iraqi (a/k/a
        Mamdouh Mahmud Salim), a senior al Qaida member implicated in several of the
        aforementioned attacks as well as the 1998 U.S. Embassy bombings.

83.     Despite these findings, the Qataris were forced to release Shakir shortly after they
        detained him.



                                                 12
      Case 1:03-md-01570-GBD-SN Document 1956 Filed 03/07/07 Page 13 of 19




84.     Thereafter, on October 21, 2001, Shakir flew from Doha to Amman, Jordan, where he
        was scheduled to transfer to a flight to Baghdad.

85.     While waiting for his connection, he was arrested by Jordanian intelligence and held for
        three months without charge.

86.     Soon after Shakir’s detainment, the Iraqi government began exerting pressure on the
        Jordanians to release him.

87.     During his detainment, CIA officials questioned Shakir, and concluded that he had been
        well-trained in counter-interrogation techniques, and had likely received training from a
        government intelligence service.

88.     On the basis of their interrogations and other evidence, Jordanian intelligence concluded
        that Shakir’s contact at the Iraqi Embassy in Malaysia was a member of Iraqi
        intelligence, and that Shakir himself was working on behalf of the IIS.

                               THE IRAQ-AL QAIDA PRAGUE PLOT

89.     In early 2001, Iraqi intelligence sought al Qaida’s assistance for a proposed attack on
        Radio Free Europe/Radio Liberty in Prague.

90.     Since October 30, 1998, Radio Free Iraq had been broadcasting news and opinion
        detrimental to Saddam Hussein’s regime into Iraq.

91.     On April 9, 2001, Ahmad Khalil Ibrahim Samir al Ani, an Iraqi intelligence agent and
        ostensible diplomat, met with September 11th hijacker Mohammed Atta in Prague at the
        direction of the Iraqi regime, to discuss the possible recruitment of an al Qaida member to
        attack the Radio Free Europe/Radio Liberty headquarters in that city.

92.     At the time of the meeting, al Ani was under surveillance by the Czech Security
        Information Service (Czech’s intelligence service, a/k/a “BIS”), based on intelligence
        indicating that he was planning a terrorist attack on Radio Free Europe in Prague.

93.     After a second meeting between al Ani and Atta that same day in front of the Radio Free
        Europe/Radio Liberty headquarters, Czech officials subsequently expelled al Ani from
        the country.

94.     After pictures of Atta were shown on television after the September 11th Attack, the BIS
        positively identified him as the person who had met with al Ani in April of 2001
        regarding the plot to attack Radio Free Europe in Prague.

95.     The FBI later established that Atta checked out of the Diplomat Inn in Virginia Beach
        and cashed a check for $8,000 from a SunTrust account on April 4, 2001, and was never
        seen again until April 11, 2001, in Florida.

96.     The FBI could not account for his movements during this time, or how he used the
        money.


                                                 13
      Case 1:03-md-01570-GBD-SN Document 1956 Filed 03/07/07 Page 14 of 19




97.     Although there is no record of Atta using his passport to travel outside the United States
        during the relevant period, U.S. intelligence officials have suggested that he may have
        traveled to Prague under an alias, and Spanish intelligence has in fact obtained evidence
        indicating that Algerian terrorists Khaled Madani and Moussa Laouar provided false
        passports to Atta and Ramzi bin al Shibh.

98.     Intelligence reported in the Feith Memo indicates that there may have been as many as
        four meetings between Atta and al Ani, and that al Ani directed an IIS finance officer to
        provide funds to Atta:

               The Czech counterintelligence service reported that the Sept. 11
               hijacker [Mohamed] Atta met with the former Iraqi intelligence
               chief in Prague, [Ahmed Khalil Ibrahim Samir] al Ani, on several
               occasions.

               During one of these meetings, al Ani ordered the IIS finance
               officer to issue Atta funds from IIS financial holdings in the
               Prague office.

               Czech Interior Minister Stanislav Gross continues to stand by his
               information.

                       IRAQ’S SPONSORSHIP OF AL QAIDA AFFILIATES

99.     Iraq also provided material support and resources to several other terrorist organizations
        operating under the broader al Qaida umbrella, including Egyptian Islamic Jihad, Armed
        Islamic Group (“GIA”), Abu Sayyaf, Ansar al Islam and the Palestine Liberation Front.

100.    Beginning in the early 1990s, Iraq formed cooperative relationships with Egyptian
        Islamic Jihad and GIA, two terrorist organizations closely affiliated with al Qaida.

101.    According to CIA reporting, Saddam Hussein’s regime provided extensive financial
        support to GIA, often funneling the money through Osama bin Laden.

102.    On February 14, 2003, the Philippine government expelled Hisham Hussein, the second
        secretary of the Iraqi Embassy in Manila, and two other Iraqi Embassy employees, for
        providing material support and resources to Abu Sayyaf.

103.    On October 2, 2002, Abu Sayyaf conducted a terrorist strike on American soldiers just
        outside Camp Enrile Malagutay in Zamboanga City, Philippines.

104.    According to reports, a man parked his motorcycle in front of a café favored by American
        soldiers and began to examine his gas tank.

105.    Seconds later, a bomb within the motorcycle’s engine exploded, sending nails in all
        directions and killing the rider instantly.




                                                 14
   Case 1:03-md-01570-GBD-SN Document 1956 Filed 03/07/07 Page 15 of 19




106.   The explosion damaged several stores in the strip mall and killed SFC Mark Wayne
       Jackson and severely injured a fellow U.S. soldier.

107.   Eyewitnesses identified the bomber as a member of Abu Sayyaf.

108.   Abu Sayyaf attempted a second strike just one week after that attack, this time by placing
       a bomb on the playground of the San Roque Elementary School.

109.   The bomb failed to detonate and authorities recovered the cell phone that was to have set
       it off.

110.   Filipino investigators analyzed the incoming and outgoing calls.

111.   The analysis revealed that seventeen hours after the attack that took the life of SFC
       Jackson, the cell phone was used to place a call to Hisham Hussein at the Iraqi Embassy
       in Manila.

112.   According to Philippine government sources: “[Hussein] was surveilled, and we found
       out he was in contact with Abu Sayyaf and also pro-Iraqi demonstrators.” “[Philippine
       intelligence] was able to monitor their cell phone calls. [Abu Sayyaf leaders] called
       [Hussein] right after the bombing. They were always talking.”

113.   Philippine authorities further analyzed Iraqi Embassy phone records and concluded that
       Hussein had been in regular contact with Abu Sayyaf leaders both before and after the
       attack that killed SFC Jackson.

114.   Andrea Domingo, immigration commissioner for the Philippines, said Hussein ran an
       “established network” of terrorists in the country.

115.   On March 26, 2003, Matthew Daley, the State Department’s deputy assistant secretary of
       state for East Asian and Pacific affairs, told a subcommittee of the House International
       Relations Committee that:

              We’re concerned that they [Abu Sayyaf] have what I would call
              operational links to Iraqi intelligence services.

              And they’re a danger, they’re an enemy of the Philippines, they’re
              an enemy of the United States, and we want very much to help the
              government in Manila deal with this challenge.

              There is good reason to believe that a member of the Abu Sayyaf
              Group who has been involved in terrorist activities was in direct
              contact with [Hisham Hussein] an IIS officer in the Iraqi Embassy
              in Manila.

              This individual was subsequently expelled from the Philippines for
              engaging in activities that were incompatible with his diplomatic
              status.”


                                               15
   Case 1:03-md-01570-GBD-SN Document 1956 Filed 03/07/07 Page 16 of 19




116.   Abu Sayyaf leader, Hamsiraji Sali, publicly boasted that the terrorist organization
       received funding from Iraq.

117.   For instance, on March 2, 2003, Sali told the Philippine Daily that the Iraqi regime had
       provided the terrorist group with 1 million pesos (about $20,000) each year since 2000.

118.   A Washington Times article published on March 4, 2003, provided the following account.

              Islamist terrorists in the southern Philippines who have killed two
              American hostages in recent years say they are receiving money
              from Iraqis close to President Saddam Hussein.

              Hamsiraji Sali, a local commander of the terrorist group Abu
              Sayyaf on the remote southern island of Basilan, says he is getting
              nearly $20,000 a year from supporters in Iraq.

              “It’s so we would have something to spend on chemicals for
              bomb-making and for the movement of our people,” Sali told a
              reporter this week, renewing earlier claims of support from Iraq.

119.   Documents recovered following the 2003 invasion of Iraq provide further evidence that
       Iraqi intelligence provided money to Abu Sayyaf to purchase weapons, and that Iraqi
       intelligence considered using a Libyan intelligence front to provide additional support to
       the terrorist group.

120.   On June 6, 2001, the Iraqi ambassador to the Philippines, Salah Samarmad, sent an eight-
       page fax to the Secondary Policy Directorate of the Iraqi Foreign Ministry in Baghdad,
       concerned that an Abu Sayyaf kidnapping a week earlier had garnered international
       attention.

121.   In the fax, Samarmad acknowledges that the Iraqi regime was funding Abu Sayyaf, as
       recently as the year before the kidnapping:

              The kidnappers were formerly (from the previous year) receiving
              money and purchasing combat weapons. From now on we (IIS)
              are not giving them this opportunity and are not on speaking terms
              with them.

122.   An Iraqi memo, dated March 18, 2001, from the “Republican Presidency, Intelligence
       Apparatus” to someone identified only as D4/4, discusses the possibility of supporting
       the work of the Qaddafi Charity Establishment to assist Abu Sayyaf.

              There are connections between the Qaddafi Charity Establishment
              and the Abu Sayyaf group in the Philippines; meanwhile, this
              establishment is providing material support to them.

              This establishment is one of the Libyan Intelligence fronts.



                                               16
   Case 1:03-md-01570-GBD-SN Document 1956 Filed 03/07/07 Page 17 of 19




              The Tripoli post has indicated that there is a possibility to form
              what connections are available with this establishment as it can
              offer the premise of providing food supplies to [Ed: word missing]
              in the scope of the agreement statement.

              Please review . . . it appears of intelligence value to proceed into
              connections with this establishment and its intelligence
              investments in the Abu Sayyaf group.

123.   U.S. intelligence reports in recent years, including interviews with former Iraqi
       intelligence agents, reveal that Saddam Hussein’s regime also secretly provided material
       support and resources to Ansar al Islam.

124.   Ansar al Islam was formed in December 2001 as a merger of Jund al Islam (“Soldiers of
       Islam”), led by Abu Abdallah al Shafi’i, and a splinter group from the Islamic Movement
       in Kurdistan led by Mullah Krekar.

125.   By early 2003, the group controlled about a dozen villages in northern Iraq on the Iranian
       border, subjecting the local villagers to strict sharia law.

126.   Senior al Qaida member Abu Zubaydah has told interrogators that al Qaida provided start
       up money for Ansar al Islam in 2001.

127.   Intelligence indicates that Ansar al Islam also received seed funding, weapons and
       training from Saddam Hussein, who intended to use the organization against moderate
       Kurdish elements.

128.   Abu Wael, an Iraqi intelligence officer responsible for coordinating Iraqi support for
       terrorist organizations under Saddam Hussein’s regime, is a senior official of Ansar al
       Islam, and was responsible for representing the interests of Iraqi intelligence within the
       organization until the overthrow of Saddam Hussein’s regime.

129.   In anticipation of being driven from Afghanistan, bin Laden used his influence over
       Ansar al Islam to establish an alternative base of operations in northern Iraq prior to
       September 11, 2001.

130.   An intelligence intercept from October 2002 revealed that the proposed relocation of al
       Qaida elements to Northern Iraq was vetted with and approved by the Iraqi regime, which
       also promised to provide money and weapons to the organization.

131.   The agreement reportedly prompted a large number of al Qaeda members to head to Iraq,
       and a former Iraqi intelligence officer has confirmed that the IIS provided weapons to
       those al Qaida elements, including rocket propelled grenade launchers.

132.   The Hussein regime also provided extensive support to the Palestine Liberation Front,
       including terrorist training at camps in Iraq, and safe haven to Abu Abbas, the founder of
       the PLF.



                                                17
   Case 1:03-md-01570-GBD-SN Document 1956 Filed 03/07/07 Page 18 of 19




133.   The Iraqi regime similarly provided asylum and safe haven to Abu Nidal, the founder of
       the Abu Nidal terrorist organization.

134.   Under Saddam Hussein, the Iraqi government also maintained operational and financial
       ties to Abu Musab al Zarqawi, the head of al Qaida in Iraq until he was killed by U.S.
       forces in June of 2006.

135.   The IIS assisted al Zarqawi in procuring weapons and explosives, including surface-to-air
       missiles.

136.   Iraq’s extensive ties to al Qaida and affiliated terrorist organizations have been
       corroborated by internal Iraqi government and IIS documents seized since the U.S.
       invasion of Iraq, as well as by statements of former officials of the Iraqi government.

137.   By virtue of its extensive sponsorship of al Qaida and affiliated terrorist organizations, as
       described in further detail above, the Republic of Iraq knowingly and intentionally aided,
       abetted and conspired with al Qaida, in relation to that terrorist organization’s campaign
       to conduct terrorist attacks against the United States.

138.   At all times material hereto, Iraq was specifically aware of al Qaida’s ambition and intent
       to conduct terrorist attacks against the United States, by virtue of Iraq’s direct discussions
       with senior al Qaida officials, the public declarations of al Qaida officials, intelligence
       and media reports, and the attacks al Qaida successfully conducted against American
       interests.

139.   The September 11th Attack was a direct, intended and foreseeable product of Iraq’s
       knowing and intentional sponsorship of al Qaida and affiliated terrorist organizations.

  ALLEGATIONS REGARDING THE SOURCES OF PLAINTIFFS’ COMMON LAW
                       CAUSES OF ACTION

140.   The trespass claims asserted against Iraq in the FAC arise under international law, federal
       common law, New York law, Pennsylvania law, Virginia law, and the laws of any other
       jurisdictions deemed applicable by the Court.

141.   The wrongful death claims asserted against Iraq in the FAC arise under international law,
       federal common law, New York law, Pennsylvania law, Virginia law, and the laws of any
       other jurisdictions deemed applicable by the Court.

142.   The survival action claims asserted against Iraq in the FAC arise under international law,
       federal common law, New York law, Pennsylvania law, Virginia law, and the laws of any
       other jurisdictions deemed applicable by the Court.

143.   The assault and battery claims asserted against Iraq in the FAC arise under international
       law, federal common law, New York law, Pennsylvania law, Virginia law, and the laws
       of any other jurisdictions deemed applicable by the Court.




                                                 18
   Case 1:03-md-01570-GBD-SN Document 1956 Filed 03/07/07 Page 19 of 19




144.   The intentional and negligent infliction of distress claims asserted against Iraq in the FAC
       arise under international law, federal common law, New York law, Pennsylvania law,
       Virginia law, and the laws of any other jurisdictions deemed applicable by the Court.

145.   The conspiracy claims asserted against Iraq in the FAC arise under international law,
       federal common law, New York law, Pennsylvania law, Virginia law, and the laws of any
       other jurisdictions deemed applicable by the Court.

146.   The aiding and abetting claims asserted against Iraq in the FAC arise under international
       law, federal common law, New York law, Pennsylvania law, Virginia law, and the laws
       of any other jurisdictions deemed applicable by the Court.

147.   The negligence claims asserted against Iraq in the FAC arise under international law,
       federal common law, New York law, Pennsylvania law, Virginia law, and the laws of any
       other jurisdictions deemed applicable by the Court.

148.   The punitive damage claims asserted against Iraq in the FAC arise under international
       law, federal common law, New York law, Pennsylvania law, Virginia law, and the laws
       of any other jurisdictions deemed applicable by the Court, as well as the statutory causes
       of action brought against Iraq.

                       ALLEGATIONS REGARDING RICO CLAIMS

149.   Additional allegations relevant to Plaintiffs’ RICO claims against Iraq are set forth in
       Plaintiffs’ RICO Statement Applicable to the Republic of Iraq, incorporated herein by
       reference.




                                             Respectfully submitted,

                                             COZEN O’CONNOR


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                                                19
